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     Attorneys for State Defendants




                                   IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON



     MOYATA ANOTTA, an individual; and NW                     Case No. 3:22-cv-00953-YY
     METALS, INC., an Oregon corporation,
                                                              NOTICE OF APPEARANCE
                         Plaintiffs,

               v.

     OREGON DEPARTMENT OF
     ENVIRONMENTAL QUALITY, an Oregon
     governmental regulatory agency;
     RICHARD WHITMAN, an individual;
     LEAH FELDON, an individual;
     NINA DECONCINI, an individual;
     DEREK SANDOZ, an individual;
     COURTNEY BROWN, an individual; and
     STEVE DIETRICH, an individual,

                         Defendants.


                                         NOTICE OF APPEARANCE

               Defendants Oregon Department of Environmental Quality, Richard Whitman, Leah

     Feldon, Nina DeConcini, Derek Sandoz, Courtney Brown, and Steven Dietrich, hereby give

     notice that the Oregon Department of Justice, by and through Senior Assistant Attorney General
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           JSS/jl9/
                                                      Department of Justice
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     James S. Smith, hereby appears as counsel on their behalf and request that all pleadings and

     papers, except process, be served upon their counsel as described herein.



               DATED July       5 , 2022.

                                                            Respectfully submitted,

                                                            ELLEN F. ROSENBLUM
                                                            Attorney General



                                                                s/ James S. Smith
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